          Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 1 of 9



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

____________________________________
TEKWAY, INC,                         |
                                     |
                  PLAINTIFF,         |
            V.                       |                CIVIL ACTION NO. 19-0430 (TSC)
                                     |
UNITED STATES CITIZENSHIP            |
AND IMMIGRATION SERVICES,            |
                                     |
                  DEFENDANT.         |
                                     |


                        DEFENDANT’S MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), defendant United States

Citizenship and Immigration Services moves the Court to dismiss this case on grounds of

lack of subject matter jurisdiction because plaintiff’s claims are moot, there is no final

agency action to review, and plaintiff should be required to exhaust their administrative

remedies. In support of its motion, defendant submits the accompanying memorandum of

law and declaration. A proposed order is also attached.

                                           Respectfully submitted,

                                           JESSIE K. LIU
                                           D.C. Bar No. 472845
                                           United States Attorney

                                           DANIEL F. VAN HORN
                                           D.C. Bar No. 924092
                                           Chief, Civil Division


                                           /s/ Denise M. Clark
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Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 2 of 9



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                           2
          Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 3 of 9



                         UNITED STATES DISTRICT COURT
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TEKWAY, INC,                        |
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                                    |
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____________________________________|

            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
             DEFENDANT’S MOTION TO DISMISS AND IN OPPOSITION TO
                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

                                 PRELIMINARY STATEMENT

       Plaintiff has brought this case pursuant to the Administrative Procedure Act (“APA”), 5 U.S.C.

§ 701 et seq., and the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101 et seq., seeking to set

aside decisions by the United States Citizenship and Immigration Service (“USCIS”), dated November

13, 2018, denying plaintiff Tekway, Inc.’s Form I-129 petitions for H-1B visas on behalf of Manoj

Kumar Koduru and Stevenson Sunchu. 1

       Plaintiff’s claims are now moot, and there are no longer any final agency actions subject to

review under the APA. On June 13, 2019, USCIS vacated its November 13, 2018, decisions and is

preparing to issue a Request for Evidence for each petition. This will result in a different

administrative record and a new decision on each of Plaintiff’s Form I-129 Petitions for H-1B visas.

Given that Plaintiff’s claims in this case all focus on the alleged deficiencies in the November 13, 2018,




1
 Prior to filing this motion, Defendant asked Plaintiff if it would consent to a motion to stay the
proceedings to allow Defendant to re-open the matters, issue a Request for Evidence for each
petition, and issue new decisions after the receipt of that additional information. Plaintiff
declined.
          Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 4 of 9



decisions, which Plaintiff claims failed to properly consider relevant evidence submitted by Plaintiff,

these claims no longer present a live controversy for this Court to decide. There no longer exists any

final agency action for this Court to review.

       Therefore, the Court lacks subject matter jurisdiction over Plaintiff’s claims and should dismiss

their Complaint under Federal Rule of Civil Procedure 12(b)(1). Moreover, because Plaintiff will have

the opportunity to provide USCIS with new, additional evidence of eligibility for approval, and the H-

1B petitions remain pending before the agency with the possibility of approval, Plaintiff has an

unexhausted administrative remedy available. The Court as an exercise of discretion can dismiss the

Complaint on this basis as well.

       Accordingly, this case should be dismissed.

                                           ARGUMENT

       Article III “limits the judicial power to deciding ‘Cases’ and ‘Controversies.’” In re Navy

Chaplaincy, 534 F.3d 756, 759 (D.C. Cir. 2008); La. Envtl. Action Network v. Browner, 87 F.3d 1379,

1382 (D.C. Cir. 1996). Although “[a]dministrative agencies need not adjudicate only Article III cases

and controversies,” “federal courts must.” Hydro Investors, Inc. v. FERC, 351 F.3d 1192, 1197 (D.C.

Cir. 2003).

       I. Plaintiff’s Claims are Moot

It is well settled that “Federal courts lack jurisdiction to decide moot cases because their constitutional

authority extends only to actual cases or controversies.” Larsen v. U.S. Navy, 525 F.3d 1, 4 (D.C. Cir.

2008). As the D.C. Circuit has made clear:

       ‘Even where litigation poses a live controversy when filed, the [mootness] doctrine
       requires a federal court to refrain from deciding it if “events have so transpired that the
       decision will neither presently affect the parties’ rights nor have a more-than-speculative
       chance of affecting them in the future.”’

Am. Bar Ass’n v. FTC, 636 F.3d 641, 645(D.C. Cir. 2011)(quoting Clarke v. United States, 915 F.2d



                                                  4
          Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 5 of 9



699, 700-01 (D.C. Cir. 1990) (en banc) (quoting Transwestern Pipeline Co. v. FERC, 897 F.2d 570,

575 (D.C. Cir. 1990)); see also Preiser v. Newkirk, 422 U.S. 395, 401 (1975).

       Here the November 13, 2018, decisions that Plaintiff challenges in its Complaint have been

vacated and are no longer operative. Declaration of Baxter D. Norcross (“Norcross Decl.”), attached, ¶

13. There are no decisions for this Court to review as potentially arbitrary and capricious, and no

decisions for this Court to set aside.

       Thus, Plaintiff’s claims with respect to the November 13, 2018, USCIS decisions on

Plaintiff’s petitions for H-1B visas are now moot.

       II.     There are no Final Agency Actions Before the Court

       As noted in the Norcross Declaration, on June 13, 2019, USCIS vacated the November 13,

2018, decisions and is preparing a Request for Evidence for each petition. 2 Id. at ¶ 13. Plaintiff will be

given an opportunity to submit additional evidence in support of its petitions. Id. This will result in a

new administrative record for USCIS to consider in reaching a new decision on each petition. Then, a

new decision will be made in the future on each of Plaintiff’s petitions for an H-1B visa.




2
 Under 8 C.F.R. § 103.5(a)(5)(ii), USCIS is authorized to sua sponte reconsider one of its decisions.
This section provides that:

       ii) Service motion with decision that may be unfavorable to affected party. When
       a Service officer, on his or her own motion, reopens a Service proceeding or
       reconsiders a Service decision, and the new decision may be unfavorable to the
       affected party, the officer shall give the affected party 30 days after service of the
       motion to submit a brief. The officer may extend the time period for good cause
       shown. If the affected party does not wish to submit a brief, the affected party
       may waive the 30–day period.

See Ravulapalli v. Napolitano, 840 F. Supp.2d 200, 205 (D.D.C. 2012) (CKK) (“Federal” regulations
provide that the USCIS can, on its own motion, reconsider its previous decisions. See 8 C.F.R. §
103.5(a)(5) ”).




                                                 5
          Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 6 of 9



       The APA makes review available where there is “final agency action for which there is no other

adequate remedy in a court.” 5 U.S.C. § 704. An agency action is considered final if two elements are

met: first, the action must “mark the consummation of the agency’s decision making process” and

cannot be tentative or interlocutory; and second, “the action must be one by which rights or obligations

have been determined,” or from which “legal consequences will flow.” Bennett v. Spear, 520 U.S.

154, 177-78 (1997) (internal citations omitted). An agency action that is rendered inoperative no longer

constitutes final agency action. Soundboard Ass’n v. FTC, 888 F.3d 1261, 1279 (D.C. Cir. 2018).

       In Net-Inspect LLC v. USCIS, 2015 WL 880956 (W.D. Wash. 2015), the Court faced a similar

circumstance in which USCIS reopened the denial of a petition for an H-1B visa and issued a Request

for Evidence. The Court concluded that given the reopening, there was no final agency action because

“further decisionmaking can be expected.” Id. at * 4. “Therefore, USCIS's initial denial does not

represent the consummation of the agency's decisionmaking process regarding the petition, and the

challenged agency action is non-final.” Id. The Court dismissed the case and denied the plaintiffs’

motion for summary judgment. Id. at *8.

       Plaintiff’s reopened petitions for H-1B visas here similarly do not present this Court with any

final agency actions for review. Therefore, the Court should dismiss this case in its entirety not only on

mootness grounds but also for lack of final agency action.

       III.    Plaintiff Should Exhaust its Administrative Remedies

       Because USCIS has not yet adjudicated any new evidence of eligibility that Plaintiff can

provide after it receives the two Requests for Evidence and because Plaintiff’s H-1B petitions remain

pending before the agency, Plaintiff has an unexhausted administrative remedy available. The Court

should also dismiss Plaintiff’s First Amended Complaint for lack of subject matter jurisdiction on this

ground.




                                                 6
          Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 7 of 9



       Under the doctrine of exhaustion of administrative remedies, “no one is entitled to judicial relief

for a supposed or threatened injury until the prescribed administrative remedy has been exhausted.”

McKart v. United States, 395 U.S. 185, 192 (1969) (quotation omitted). The purpose of the exhaustion

requirement is to avoid premature claims and to ensure that the agency is given the opportunity to bring

its expertise to bear to resolve a claim. See McGee v. United States, 402 U.S. 479, 486 (1971).

       As the Court recognized in Xia v. Kerry, 73 F. Supp. 3d 33 (D.D.C. 2014), “[w]here Congress

has not required exhaustion, whether to require exhaustion is within the discretion of the district court.”

Id. at 41. “Exhaustion is typically required because it serves the twin purposes of protecting

administrative agency authority and promoting judicial efficiency.” Id.

       Here, Plaintiff will have an opportunity to submit additional evidence in support of its petitions,

and USCIS will have an opportunity to consider this additional information in connection with PRI’s

petitions. It certainly would promote judicial efficiency, and allow for agency reconsideration of

decisions Plaintiff claims violate the law, to require Plaintiff to exhaust its administrative remedies and

receive a final decision from USCIS on each of Plaintiff’s H-1B petitions.

       Dismissal would be appropriate here because administrative proceedings are still pending and

the factual record in this case is not yet complete.




                                                  7
  Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 8 of 9



                                CONCLUSION

For the foregoing reasons, USCIS’s motion to dismiss should be granted.

                                      Respectfully submitted,

                                      JESSIE K. LIU
                                      D.C. Bar No. 472845
                                      United States Attorney

                                      DANIEL F. VAN HORN
                                      D.C. Bar No. 924092
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                                       8
            Case 1:19-cv-00430-TSC Document 11 Filed 06/14/19 Page 9 of 9



                                 UNITED STATES DISTRICT COURT
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____________________________________|


                                           ORDER

          Upon consideration of Defendant’s motion to dismiss, of all the papers filed in support of

and in opposition to this motion, and of the entire record, and it appearing to the Court that the

granting of Defendant’s motion would be just and proper, it is by the Court this        day of

, 2019,

          ORDERED that Defendant’s motion to dismiss be, and it hereby is, granted; and it is

further

          ORDERED that this case be, and it is, dismissed.




                                               UNITED STATES DISTRICT JUDGE




                                                  9
